     Case 6:22-cv-06452-FPG-MWP Document 12 Filed 04/27/23 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
ANTHONY HALL


                                   Plaintiff(s),
                                                                 MEDIATION
                                                               CERTIFICATION

                                                                  22 - cv - ______
                                                                ______      6452
                              v.

CITY OF ROCHESTER


                                Defendant(s).

__________________________________________



   I hereby certify that:

   The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.
✔ Mediation session was held on ______________.
                                    4/27/23

       Case has settled. (Comment if necessary).

       Case has settled in part. (Comment below). Mediation will continue on________.

       Case has settled in part. (Comment below). Mediation is complete.

       Case has not settled. Mediation will continue on ________________________.

   ✔ Case has not settled.


                                                              Steven V. Modica
Date: ______________
      04/27/2023                               Mediator: /S/ __________________________

Additional Comments:
________________________________________________________________________
________________________________________________________________________
________________________________________________________________________

    Print              Clear Form
